(Rev. 8/13/09)

UNITED STATES BANKRUP.TCY COURT
NURTHERN DISTRICT OF CALIFOR]\/YA

 

 

111 re John Durwood Dennis, Jr. Case No_
CHAPTER 13 PLAN
Debtor(s)
l. Plan Payments by Debtor. The future earnings of the debtor(s) are submitted to the supervision and control of

the trustee. The debtor(s) will pay to the trustee (E| pay order l direct pay) the sum of 617.65

2. Disbursements bv Trustee. From the payments received, the trustee will make disbursements as follows:

each month.

(a) On allowed claims for expenses of administration required by ll U.S.C. § 507 (a)(Z). lnitial attorneys fees are

requested in the amount of $ 4,000.00 .

(b) On allowed secured claims, which shall be treated and valued, as follows:

 

Compromise of Claim

Creditor Collateral Described in § 1325(a)(9) Collateral

Time
Value
Value of Estimated Adequate OfMoney

Arrears Protection (Interest)

 

Citimortgage |nc 1628 Hi|by Avenue NO
Seaside, CA 93955

Monterey County

 

 

 

 

 

 

 

594,966.00 30,000.00 517.24 0.00

 

 

(c) The debtor(s) propose the following compromise modifying the amounts payable on secured claims provided in

paragraph Z(b). The debtor(s) acknowledge that this plan provision does not alter the other rights provided to
holders of secured claims pursuant to ll U.S.C. §§ 506 and 1325(a)(5)(b) or in the event of conversion

 

Creditor Collateral Value

 

-NONE-

 

 

 

 

 

(d) On allowed priority unsecured claims specified in ll U.S.C. § 507.

(e) On allowed general unsecured claims, as follows:
l A percentage plan at the rate of 100 cents on the dollar. The estimated term of the plan is 60 months.

 

ij A pot plan, paying the the sum of $ payable over months, distributed pro rata, in amounts determined
after allowed administrative, secured and priority unsecured claims are paid. The plan payments will continue at

the highest monthly payment amount provided in paragraph l as necessary to complete the plan within 60
months of confirmation

LJ)

Reiection of Executory Contracts and Leases and Surrender of Secured Collateral. The debtor(s) elect to reject the

following executory contracts or leases and surrender to the named creditor(s) the personal or real property that serves as
collateral for a claim. The debtor(s) waive the protections of the automatic stay and consent to allow the named
creditor(s) to obtain possession and dispose of the following identified property or collateral without further order of the
court. Any allowed unsecured claim for damages resulting from rejection will be paid in accordance with paragraph

Z(e).

 

Creditor

Collateral/Executory contracts or leases

 

-NONE-

 

4. Direct Pavments by Debtor. The debtor(s) will pay directly the following secured creditors, lessors, or creditors
holding long~term debt:

 

Creditor

Monthly Payment

 

 

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(Rev. 8/13/09)
Notice to Creditors Regarding Plan Provl'sl'ons

Binding Effect of the Plan: The plan will be binding upon creditors if approved at a confirmation hearing You should
review the plan carefully as your legal rights may be affected You may wish to seek legal advice to understand its terms
and to protect your rights

Written Objection to Confirmation: lf you disagree with the terms of this plan, you must file a written objection with the
U.S. Bankruptcy Court by the date of the Meeting of` Creditors and serve it upon the trustee and debtor's attorney or, if not
represented by an attorney, the debtor. lf you faith file a timely written objection to continuation of this plan and the plan is
confirmed by the court, you will be bound by its terms.

Plan Payment: The debtor must make the first payment proposed by the plan within 30 days after the plan is filed or the
order for relief is entered, whichever is earlier, or the case may be dismissed without further notice.

Proof of Claim: To receive payments, you must file a proof of claim. You may file the proof of` claim electronically if you
are a registered participant for electronic filing lf not, a blank claim form is enclosed for your use. The form must be fully
executed, legible and you must attach any required documentation lt must be filed with the court and served upon the
debtor's attorney or, if not represented by an attorney, the debtor.

Distribution of Funds: Payments will be disbursed by the chapter 13 trustee consistent with ll U.S.C. § 1326(b)(l) and
according to the plan. Creditors secured by personal property will receive adequate protection payments contemporaneous
with other administrative claims. Non-administrative priority and unsecured claims under ll U.S.C. § 507 will be made in
their order of priority, except that allowed claims under § 507(a)(l)(B) which may be listed as an optional provision of the
plan will be paid after other priority claims. Payments must be credited in accordance with the terms of the plan and § 524(i).

Treatment of Secured Claims: The valuations shown will be binding unless a timely objection to confirmation is filed.
Secured claims will be allowed f`or the value of the collateral or the amount of the claim, whichever is less. The remaining
balance of any partially-secured claim will be treated as a general unsecured claim. lf` the time value of money (interest rate)
is not specified, it will be paid at an annual rate of seven percent (7%).

Adequate Protection Payments: Subject to the trustee‘s monthly disbursement cycle, the trustee will disburse adequate
protection payments commencing within 30 days after a proof of claim is properly filed, doctunenting the nature and extent
of a claimed lien. Adequate protection payments may be no less than the monthly depreciation of the collateral.

Proposed Compromise: lf the debtor has proposed a compromise affecting your collateral, you may either accept, reject or
renegotiate the proposed compromise lf you reach an agreement, the resulting claim will be treated as a secured claim
under § 506 and the plan may be confirmed lf you do not affirmatively agree, you must file an objection to confirmation
(see above), and the confirmation hearing will be continued for consideration of a modified plan.

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